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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION
OF THE KINGDOM OF DENMARK                                      MASTER DOCKET
(SKATTEFORVALTNINGEN) TAX REFUND
SCHEME LITIGATION                                               18-md-2865 (LAK)

This document relates to:      18-cv-09797
                               18-cv-09840


  RIVERSIDE ASSOCIATES DEFINED BENEFIT PLAN AND DAVID SCHULMAN’S
     ANSWER TO THE COMPLAINT AND RIVERSIDE ASSOCIATES DEFINED
    BENEFIT PLAN’S COUNTERCLAIMS AGAINST SKATTEFORVALTNINGEN

          Defendants Riverside Associates Defined Benefit Plan (“the Riverside Plan”) and David

Schulman (“D. Schulman”) (together, “Defendants”) deny any wrongdoing in relation to the

Riverside Plan’s requests for refunds of dividend-withholding tax. Plaintiff Skatteforvaltningen

(“SKAT”) commenced this litigation on the baseless presumption that Defendants were

somehow involved in a scheme to defraud Denmark out of billions of dollars in tax revenue.

SKAT has alleged that the Riverside Plan did not hold the securities it represented to SKAT that

it owned and had no dividend tax withheld. These allegations are false, and the facts will show

that the Riverside Plan was entitled to the withholding taxes SKAT refunded.

          Further, SKAT failed to pay a dividend-withholding tax refund owed to the Riverside

Plan despite SKAT’s obligations to do so under the U.S.-Denmark Tax Treaty, its own course of

conduct, and its own practices, policies, and procedures. The Court should now order SKAT to

pay the amounts it owes to the Riverside Plan.
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                                 ANSWER TO COMPLAINT

       This answer is based on Defendants’ investigations to date. Defendants reserve the right

to supplement or amend this answer during this litigation as new information is learned.

Defendants deny any allegation not specifically admitted in this answer. To the extent that the

headings of Plaintiff’s complaint require a response, they are hereby denied. By filing this

answer in the United States District Court for the Southern District of New York, Defendants do

not waive their right to have SKAT’s claims and the Riverside Plan’s counterclaims transferred

to the United States District Court for the District of Utah for purposes of trial. Defendants

demand a jury trial on all issues so triable. Defendants hereby answer SKAT’s complaint as

follows:

                                       INTRODUCTION

       1.      Defendants admit the allegations in paragraph 1 at the time of the filing of the

complaint but deny the allegations in paragraph 1 as of the date of this answer.

       2.      Defendants deny the allegations in paragraph 2.

       3.      Defendants deny any allegations in the first sentence of paragraph 3 with respect

to themselves and lack knowledge and information sufficient to form a belief as to the truth of

the remaining allegations in the first sentence of paragraph 3 and therefore deny them. The

remainder of paragraph 3 states legal conclusions to which no response is required, but to the

extent any further response is required, Defendants deny the allegations in paragraph 3.

       4.      Defendants lack knowledge or information to form a belief as to the truth of the

allegations in the first sentence of paragraph 4 and therefore deny them, except Defendants admit

that reclaim applications were submitted to SKAT, on behalf of the Riverside Plan, claiming




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repayments of tax withheld on shares of Danish companies. Defendants deny the remaining

allegations in paragraph 4.

          5.    Defendants deny the allegations in paragraph 5 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 5 and therefore deny them.

          6.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in the first sentence of paragraph 6 and therefore deny them. Defendants

deny the remaining allegations in paragraph 6 with respect to themselves and lack knowledge or

information sufficient to form a belief as to the truth of the remaining allegations with respect to

others.

          7.    Defendants deny the allegations in paragraph 7 with respect to themselves.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 7 and therefore deny them.

          8.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 8 and therefore deny them, except Defendants admit that

SKAT stopped paying claims for refunds of dividend-withholding tax for the Riverside Plan in

August 2015.

          9.    Defendants deny the allegations in paragraph 9 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the remaining allegations in

paragraph 9 and therefore deny them.

          10.   Defendants deny the allegations in paragraph 10 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the remaining allegations in

paragraph 10 and therefore deny them.




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       11.     Defendants deny the allegations in paragraph 11 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the remaining allegations in

paragraph 11 and therefore deny them.

       12.     Defendants deny the allegations in paragraph 12 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the remaining allegations in

paragraph 12 and therefore deny them.

       13.     Defendants deny the allegations in paragraph 13. Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations in footnote 1 and therefore

deny them.

                                   JURISDICTION & VENUE

       14.     Paragraph 14 states a legal conclusion to which no response is required.

       15.     Paragraph 15 states a legal conclusion to which no response is required.

                                             PARTIES

       16.     Defendants admit the allegations in the first sentence of paragraph 16 were true as

of the date of the complaint but deny them as of the date of this answer. Defendants lack

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in paragraph 16 and therefore deny them.

       17.     Defendants admit the allegations of paragraph 17 except to the extent the

allegations suggest the Riverside Plan is not a trust forming part of a pension, profit sharing, or

stock bonus plan qualified under section 401(a) of the United States Internal Revenue Code,

exempt from taxation under section 501(a) of the United States Internal Revenue Code, and a

resident of the United States of America for U.S. tax purposes. Defendants further state that the

Riverside Plan is a pension plan qualified under section 401(a) of the United States Internal




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Revenue Code, exempt from taxation under section 501(a) of the United States Internal Revenue

Code, and that it is a resident of the United States of America for U.S. tax purposes. Defendants

further admit that the Riverside Plan listed its address as 5532 Lillehammer Lane, Suite 103,

Park City, Utah 84098, USA for tax refund requests. Defendants further admit that each member

of the Riverside Plan is a citizen of the United States.

       18.     Defendants admit the allegations in the first sentence in paragraph 18, stating

further that D. Schulman resides in the State of New York and is a citizen of the United States.

The second sentence of paragraph 18 states a legal conclusion to which no response is required.

                         AS TO SKAT’S FACTUAL ALLEGATIONS

       19.     Paragraph 19 states a legal conclusion to which no response is required.

       20.     Paragraph 20 states a legal conclusion to which no response is required.

       21.     Paragraph 21 states a legal conclusion to which no response is required.

       22.     Paragraph 22 states a legal conclusion to which no response is required. To the

extent a response to footnote 2 is required, Defendants deny the assertion in footnote 2.

       23.     Defendants admit the allegations of paragraph 23 as to the Riverside Plan except

to the extent the allegations suggest that the Riverside Plan’s representations were not truthful.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 23 and therefore deny them.

       24.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 24 and therefore deny them.

       25.     Defendants lack knowledge or information sufficient to form a belief regarding

SKAT’s purported investigation or what SKAT “determined,” but Defendants deny that those

things SKAT purportedly “determined” with respect to Defendants are true. Defendants deny




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the remainder of the allegations in paragraph 25 with respect to themselves and lack knowledge

or information sufficient to form a belief to the remaining allegations in paragraph 25 and

therefore deny them.

          26.   Defendants deny the allegations in paragraph 26 with respect to themselves and

lack knowledge or information sufficient to form a belief to the remaining allegations in

paragraph 26 and therefore deny them.

          27.   Defendants deny the allegations in paragraph 27 with respect to themselves and

lack knowledge or information sufficient to form a belief to the remaining allegations in

paragraph 27 and therefore deny them.

          28.   Defendants admit that documents as described in subsections (a)–(e) of paragraph

28 were submitted to SKAT on the Riverside Plan’s behalf. Defendants deny the remaining

allegations in paragraph 28.

          29.   Defendants deny the allegations in paragraph 29 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 29 and therefore deny them.

          30.   Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 30.

          31.   Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 31 and therefore deny them.

          32.   Defendants lack knowledge or information sufficient to form a belief regarding

what SKAT “determined,” but Defendants deny that those things SKAT purportedly

“determined” with respect to Defendants are true. Defendants admit they are in the United

States.    Defendants deny the remainder of the allegations in paragraph 32 with respect to




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themselves and lack knowledge or information sufficient to form a belief to the remaining

allegations in paragraph 32 and therefore deny them.

        33.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 33.     Defendants further state that the Riverside Plan

submitted withholding-tax refund claims to SKAT through Goal Taxback Limited and that, on

information and belief, those applications included the documentation described in paragraph 28

of Plaintiff’s complaint.

        34.    Defendants deny that fraudulent withholding-tax refund claims were submitted on

behalf of the Riverside Plan. Defendants admit that the Riverside Plan represented that D.

Schulman had the authority to act on the Riverside Plan’s behalf with respect to its

withholding-tax refund claims. Defendants lack knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 34 and therefore deny them.

        35.    Defendants deny that fraudulent withholding-tax refund claims were submitted on

behalf of the Riverside Plan. Defendants admit that the Riverside Plan represented that Goal

Taxback Limited was its agent and had authority to act on its behalf with respect to the Riverside

Plan’s withholding-tax refund claims. Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in paragraph 35 and therefore deny

them.

        36.    Defendants admit that withholding-tax refund claims were submitted to SKAT on

the Riverside Plan’s behalf in which the Riverside Plan described its shareholdings in and receipt

of dividends from Danish companies. Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in paragraph 36 and therefore deny




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them. Defendants further state that two additional withholding-tax refund claims were submitted

to Plaintiff on the Riverside Plan’s behalf in August 2015.

       37.     Defendants deny the allegations in paragraph 37.

       38.     Defendants deny that fraudulent withholding-tax refund claims were submitted on

behalf of the Riverside Plan. Defendants deny SKAT made payments to the Riverside Plan but

rather admits, on information and belief, that Goal Taxback received payments from Denmark

and/or SKAT. Defendants lack knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in paragraph 38 and therefore deny them.

       39.     Defendants admit its address was listed as 5532 Lillehammer Lane, Suite 103,

Park City, Utah 84098. Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in paragraph 39.

       40.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 40 and therefore deny them. Defendants admit D. Schulman

executed a power of attorney authorizing Goal Taxback Limited to act on behalf of the Riverside

Plan with respect to the Riverside Plan’s withholding-tax refund claims.

       41.     Defendants admit that a power of attorney, which speaks for itself, was to

accompany withholding-tax refund claims that were submitted to SKAT on the Riverside Plan’s

behalf. Defendants deny the remaining allegations in paragraph 41.

       42.     Defendants deny the allegations in paragraph 42 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the truth of the allegations with

respect to others and therefore deny them.

       43.     Defendants deny the allegations in paragraph 43 with respect to themselves and

lack knowledge or information sufficient to form a belief as to the truth of the allegations with




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respect to others and therefore deny them. Defendants admit Goal Taxback was authorized to

submit withholding tax refund applications for the Riverside Plan.

       44.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 44 and therefore deny them.

       45.     Any “claim form,” as described in paragraph 45, speaks for itself. Defendants

admit that certain claim forms were submitted to SKAT on the Riverside Plan’s behalf.

Defendants deny the remainder of the allegations of paragraph 45.

       46.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in the first sentence of paragraph 46 and therefore deny them. Defendants

deny the remaining allegations in paragraph 46 with respect to themselves and lack knowledge or

information sufficient to form a belief as to the truth of the allegations with respect to others and

therefore deny them.

       47.     Defendants admit that “tax vouchers,” which speak for themselves, were

submitted to SKAT on the Riverside Plan’s behalf. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph 47 and

therefore deny them.

       48.     Defendants admit that “tax vouchers,” which speak for themselves, were

submitted to SKAT on the Riverside Plan’s behalf. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph 48.

       49.     Defendants deny the allegations in paragraph 49.

       50.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 50 and therefore deny them.




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                        AS TO PLAINTIFF’S CAUSES OF ACTION

                                         COUNT I
                              (Fraud – Against Both Defendants)

       51.     Defendants repeat and reassert their responses to each preceding paragraph as

though stated fully herein.

       52.     Defendants deny the allegations in paragraph 52.

       53.     Defendants deny the allegations in paragraph 53.

       54.     Defendants deny the allegations in paragraph 54.

       55.     Defendants deny the allegations in paragraph 55.

                                         COUNT II
                   (Aiding and Abetting Fraud – Against Both Defendants)

       56.     Defendants repeat and reassert their responses to each preceding paragraph as

though stated fully herein.

       57.     Defendants deny the allegations in paragraph 57.

       58.     Defendants deny the allegations in paragraph 58.

       59.     Defendants deny the allegations in paragraph 59.

       60.     Defendants deny the allegations in paragraph 60.

       61.     Defendants deny the allegations in paragraph 61.

       62.     Defendants deny the allegations in paragraph 62.

                                       COUNT III
                       (Unjust Enrichment – Against Both Defendants)

       63.     Defendants repeat and reassert their responses to each preceding paragraph as

though stated fully herein.

       64.     Paragraph 64 states a legal conclusion to which no response is required. To the

extent any further response is required, Defendants deny the allegations in paragraph 65.


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       65.     Defendants deny the allegations in paragraph 65.

       66.     Defendants deny the allegations in paragraph 66.

       67.     Defendants deny the allegations in paragraph 67.

                                      COUNT IV
                     (Money Had & Received – Against Both Defendants)

       68.     Defendants repeat and reassert their responses to each preceding paragraph as

though stated fully herein.

       69.     Defendants deny the allegations in paragraph 69.

       70.     Defendants deny the allegations in paragraph 70.

                                        COUNT V
                  (Negligent Misrepresentation – Against Both Defendants)

       71.     Defendants repeat and reassert their responses to each preceding paragraph as

though stated fully herein.

       72.     Paragraph 72 states legal conclusions to which no response is required. To the

extent a further response is required, Defendants deny the allegations in paragraph 72.

       73.     Paragraph 73 states legal conclusions to which no response is required. To the

extent a further response is required, Defendants deny the allegations in paragraph 73.

       74.     Paragraph 74 states legal conclusions to which no response is required. To the

extent a further response is required, Defendants deny the allegations in paragraph 74.

       75.     Paragraph 75 states legal conclusions to which no response is required. To the

extent a further response is required, Defendants deny the allegations in paragraph 75.

       76.     Paragraph 76 states legal conclusions to which no response is required. To the

extent a further response is required, Defendants deny the allegations in paragraph 76.




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                       AS TO PLAINTIFF’S REQUEST FOR RELIEF

       The remainder of the complaint sets forth SKAT’s prayers for relief, to which no

response is required. To the extent that a response is required, Defendants deny that SKAT is

entitled to the relief it seeks and prays that the Court dismiss SKAT’s claims and order such

other relief as the Court deems just and necessary.

                                              * * *

                                 AFFIRMATIVE DEFENSES

       Defendants incorporate by reference the denials and admissions set forth above and assert

the following affirmative defenses. Defendants do not intend to assume the burden of proof with

respect to those matters as to which Plaintiff bears the burden. This statement of defenses is

based on Defendants’ investigation to date, and Defendants reserve the right to supplement,

amend, or withdraw their defenses during the course of litigation as new information is learned.

                                   First Affirmative Defense

       The complaint fails to state a claim upon which relief can be granted.

                                  Second Affirmative Defense

         SKAT’s claims are barred, in whole or in part, (i) by the Convention and Protocol
between the United States and Denmark for the Avoidance of Double Taxation and the
Prevention of Fiscal Evasion with Respect to Taxes on Income, (ii) the Revenue Rule, and/or
(iii) the Penal Law Rule.

                                   Third Affirmative Defense

        SKAT’s claims are barred, in whole or in part, because at all relevant times Defendants
acted in good faith and without intent to defraud and did not make any material misstatements or
omissions and because Defendants did not commit any act that constituted substantial assistance
to any fraud.

                                  Fourth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because the Riverside Plan was entitled to
the withholding tax refunds at issue.


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                                    Fifth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, by the applicable statutes of limitations.

                                    Sixth Affirmative Defense

        SKAT’s claims are barred, in whole or in part, because Defendants never authorized the
pursuit or filing of any fraudulent refund claims.

                                  Seventh Affirmative Defense

      SKAT’s claims are barred, in whole or in part, because Defendants did not receive the
amounts Plaintiff alleges it paid out in withholding tax refunds.

                                   Eighth Affirmative Defense

        SKAT’s claims are barred, in whole or in part, by the doctrines of unclean hands, waiver,
laches, and/or estoppel.

                                   Ninth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, due to the failure to join necessary or
indispensable parties.

                                   Tenth Affirmative Defense

        SKAT’s claims are barred, in whole or in part, because the Court does not have
jurisdiction over Skatteforvaltningen’s claims as Skatteforvaltningen lacks standing under
Article III of the U.S. Constitution.

                                  Eleventh Affirmative Defense

        SKAT’s claims are barred, in whole or in part, because Skatteforvaltningen does not have
authority to pursue its claims.

                                  Twelfth Affirmative Defense

         SKAT’s claims are barred, in whole or in part, because SKAT failed to exhaust
administrative remedies and other legal remedies available to it and because the issues presented
in this action are the subject of a collateral proceeding in Denmark.

                                 Thirteenth Affirmative Defense

         SKAT’s claims are barred or limited because if SKAT is awarded any damages or
restitution, they are, in whole or in part, the result of Plaintiff’s own culpable conduct, including
but not limited to contributory negligence and assumption of the risk, and/or the negligent,
wrongful, or unauthorized acts of Plaintiff or others, for which Defendants are not liable.


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                               Fourteenth Affirmative Defense

         SKAT’s claims are barred or limited because if SKAT is awarded any damages or
restitution, they are, in whole or in part, the result of ED&F’s conduct, and ED&F should be
liable to SKAT.

                                Fifteenth Affirmative Defense

       SKAT’s claims are barred or limited because any harm to SKAT was caused by the
actions of third parties over whom Defendants had no control, and Defendants intend to
apportion fault to such third parties.

                                Sixteenth Affirmative Defense

       SKAT’s claims are barred because of collateral estoppel and or res judicata.

                                               * * *

             RIVERSIDE ASSOCIATES DEFINED BENEFIT PLAN’S
        COUNTERCLAIM AGAINST PLAINTIFF SKATTEFORVALTNINGEN

       Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Defendant/Counterclaim-

Plaintiff Riverside Associates Defined Benefit Plan (“the Riverside Plan”) brings the following

counterclaims against Plaintiff/Counterclaim-Defendant Skatteforvaltningen (“SKAT”) based on

its refusal to reimburse the Riverside Plan for the dividend-withholding tax owed pursuant to the

double-taxation treaty between Denmark and the United States.1              By bringing these

counterclaims, the AIG Plan does not waive any arguments in support of dismissal of this action

or in the collateral proceedings in Denmark.

       As set forth more fully below, SKAT refuses to refund dividend-withholding tax to the

Riverside Plan despite SKAT’s prior course of conduct and its own polices, practices and




1
  Convention and Protocol Amending the Convention between the United States and Denmark
for the Avoidance of Double Taxation and the Prevention of Fiscal Evasion with Respect to
Taxes on Income, U.S.-Den., art. 10 (3)(c) and 22(2)(e), May 6, 1948, Treaty Doc. No. 106-12
(effective date Jan. 1, 2001) (the “U.S.-Denmark Tax Treaty”).



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procedures — and in clear contravention of the U.S.-Denmark Tax Treaty. Thus, as and for its

counterclaims against SKAT, the Riverside Plan alleges as follows:

                                            PARTIES

       1.      The Riverside Plan is a trust forming part of a pension, profit sharing, or stock

bonus plan qualified under section 401(a) of the United States Internal Revenue Code, exempt

from taxation under section 501(a) of the United States Internal Revenue Code, and resident of

the United States of America for purposes of U.S. taxation. The Riverside Plan is administered

from the State of Utah.

       2.      At all relevant times herein, SKAT was the Danish government agency charged

with the assessment and collection of Danish taxes.

                                 JURISDICTION AND VENUE

       3.      The Court has subject-matter jurisdiction over these counterclaims pursuant to

28 U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest and

costs, and because the civil action is between a foreign state and U.S. citizens.

       4.      The Court has supplemental jurisdiction over these counterclaims pursuant to

28 U.S.C. § 1367 because the counterclaims form part of the same case or controversy as

SKAT’s claims.

       5.      The Court has personal jurisdiction over SKAT pursuant to 28 U.S.C. §§ 1605

and 1607 because SKAT has waived its sovereign immunity, if any, and because these

counterclaims arise out of the transactions and occurrences set forth in SKAT’s complaint.

       6.      These counterclaims are properly venued for purposes of trial in the United States

District Court for the District of Utah because the factual allegations set forth in these

counterclaims arise out of the same transactions and occurrences set forth in SKAT’s complaint.




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These counterclaims are properly venued for pretrial purposes in the United States District Court

for the Southern District of New York because this action was transferred to this Court pursuant

to 28 U.S.C. § 1407. By asserting that venue is proper in the United States District Court for the

Southern District of New York for purposes of pretrial proceedings with respect to its

counterclaims, the Riverside Plan does not waive its right to have SKAT’s claims and these

counterclaims transferred to the United States District Court for the District of Utah for purposes

of trial.

                                    STATEMENT OF FACTS

    A. Pursuant to the U.S.-Denmark Tax Treaty, a U.S. pension plan that receives a
       dividend on shares of a Danish company is entitled to 100% of the dividend.

            7.    At all relevant times herein, Danish law required Danish companies to withhold

and report to SKAT 27% of the dividends Danish companies distribute to their respective

shareholders.

            8.    Pursuant to the U.S.-Denmark Tax Treaty, Denmark cannot tax dividends paid to

a U.S. pension plan by a Danish company.

            9.    At all relevant times, SKAT served the Danish government as the agency

responsible for refunding dividend-withholding taxes, including refunds of dividend-withholding

taxes owed to U.S. pension plans.

    B. Until 2015, SKAT paid dividend-withholding tax refund claims that included the
       required supporting documentation, including claims made on behalf of the
       Riverside Plan.

            10.   SKAT created the process by which U.S. pension plans could apply for a refund

of dividend-withholding taxes.

            11.   Pursuant to that process, SKAT paid dividend-withholding tax claims that

included the following supporting documentation (the “Supporting Documentation”):



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               a. Form 06.003, entitled “Claim to Relief from Danish Dividend Tax,” which
                  was a SKAT-issued form identifying, among other things, the U.S. pension
                  plan claiming the refund and the amount of the refund claim;

               b. A “tax voucher” (also known as a “credit advice”) describing, among other
                  things, the U.S. pension plan’s shareholdings, the amount of the dividend
                  received by the U.S. pension plan, and the amount of dividend tax withheld;

               c. A statement from the IRS certifying the U.S. pension plan’s tax-exempt
                  status; and

               d. A signed power of attorney from the U.S. pension plan’s representative
                  authorizing a designated payment agent to submit the withholding tax refund
                  form on behalf of the claimant.

         12.   SKAT routinely refunded dividend-withholding taxes that included the

Supporting Documentation.      On information and belief, SKAT did so pursuant to its own

policies and procedures and the requirements of the U.S.-Denmark Tax Treaty.

         13.   In 2014 and 2015, the Riverside Plan submitted thirteen dividend-withholding-tax

refund claims to SKAT through Goal Taxback Limited (“Goal Taxback”) in relation to the

dividends net of withholding tax that the Riverside Plan received based on its holding and

ownership of stock in Danish companies on the dates necessary to be paid those dividends.

         14.   ED&F Man Capital Markets Ltd. (“ED&F”), the Riverside Plan’s broker and

custodian, provided tax vouchers for each of the Riverside Plan’s withholding-tax refund claims.

         15.   For all the Riverside Plan’s withholding-tax refund claims, the Riverside Plan

relied on the reputation and integrity of ED&F and reasonably believed that ED&F would only

create legitimate records of the Riverside Plan’s shareholding, dividend receipts, and withheld

taxes.

         16.   SKAT refunded dividend-withholding taxes to the Riverside Plan for eleven of

the thirteen refund applications submitted on behalf of the Riverside Plan.




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          17.   In August 2015, however, SKAT stopped paying dividend-withholding tax refund

requests, even those that contained the required Supporting Documentation.

          18.   At that time, two dividend-withholding tax refund claims submitted to SKAT by

Goal Taxback on behalf of the Riverside Plan remained pending.

       C. SKAT wrongfully refuses to process the unpaid claims and owes the Riverside Plan
          withheld dividend taxes.

          19.   Tryg, a Danish company, announced its intention to issue dividend payments to

its shareholders, with a record date of July 14, 2015 and a pay date of July 15, 2015.

          20.   On July 14, 2015, which was the applicable Tryg-dividend record date, the

Riverside Plan, through its brokerage account with ED&F, held and owned 425,000 Tryg shares.

          21.   For the 2015 Tryg dividend payment, Tryg paid DKK 2.50 for each Tryg share

held and owned by its shareholders, including the Riverside Plan.

          22.   On information and belief, in accordance with Danish tax law, Tryg withheld and

paid to SKAT 27% of the total dividend owed to the Riverside Plan.

          23.   The Riverside Plan, through its brokerage account with ED&F, received

DKK 775,625.00, which, to its knowledge and belief and according to information provided by

ED&F, constituted the dividend payment owed to the Riverside Plan for its holding and

ownership of 425,000 Tryg shares on July 14, 2015 net the applicable 27% dividend-withholding

tax.

          24.   The 27% dividend-withholding tax in relation to the Riverside Plan’s holding and

ownership of 425,000 Tryg shares on July 14, 2015 was DKK 286,875.00, which, as of July 29,

2019 equals approximately USD $42,831.23 (the “July Refund”).2



2
  This conversion is based on an exchange rate of 1.00 USD to 6.6978 DKK, which, on
information and belief is the exchange rate on July 29, 2019.


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       25.     On information and belief, SKAT received at least the amount of the July Refund

from Tryg in the form of dividend-withholding taxes in connection with Tryg’s August 2015

dividend payment to the Riverside Plan.

       26.     ED&F Man confirmed the Riverside Plan’s holding and ownership of 425,000

Tryg shares over the dividend date with a tax voucher (the “Tryg Tax Voucher”) that ED&F

provided to the Riverside Plan, stating:




       27.     The Tryg Tax Voucher also described the Riverside Plan’s receipt of the dividend

and the withholding tax suffered in relation to the Riverside Plan’s holding and ownership of

425,000 Tryg shares.



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          28.   Shortly after ED&F issued the Tryg Tax Voucher, Goal Taxback submitted a

dividend-withholding tax refund application for the July Refund on the Riverside Plan’s behalf.

          29.   TDC, a Danish company, announced its intention to issue dividend payments to

its shareholders, with a record date of August 11, 2015 and a pay date of August 12, 2015.

          30.   On August 11, 2015, which was the applicable TDC-dividend record date, the

Riverside Plan, through its brokerage account with ED&F, held and owned 2,000,000 TDC

shares.

          31.   For the August 2015 TDC dividend payment, TDC paid DKK 1.00 for each TDC

share held and owned by its shareholders, including the Riverside Plan.

          32.   On information and belief, in accordance with Danish tax law, TDC withheld and

paid to SKAT 27% of the total dividend owed to the Riverside Plan.

          33.   The Riverside Plan, through its brokerage account with ED&F, received

DKK 1,460,000.00, which, to its knowledge and belief and according to information provided by

ED&F, constituted the dividend payment owed to the Riverside Plan for its holding and

ownership of 2,000,000 TDC shares on August 11, 2015 net the applicable 27% dividend-

withholding tax.

          34.   The 27% dividend-withholding tax in relation to the Riverside Plan’s holding and

ownership of 2,000,000 TDC shares on August 11, 2015 was DKK 540,000.00, which, as of July

29, 2019 equals approximately USD $80,623.49 (the “August Refund”).3

          35.   On information and belief, SKAT received at least the amount of the August

Refund from TDC in the form of dividend-withholding taxes in connection with TDC’s August

2015 dividend payment to the Riverside Plan.

3
  This conversion is based on an exchange rate of 1.00 USD to 6.6978 DKK, which, on
information and belief is the exchange rate on July 29, 2019.


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          36.   ED&F Man confirmed the Riverside Plan’s holding and ownership of 2,000,000

TDC shares over the dividend date with a tax voucher (the “TDC Tax Voucher”) that ED&F

provided to the Riverside Plan, stating:




          37.   The TDC Tax Voucher also described the Riverside Plan’s receipt of the dividend

and the withholding tax suffered in relation to the Riverside Plan’s holding and ownership of

2,000,000 TDC shares.

          38.   Shortly after ED&F issued the TDC Tax Voucher, Goal Taxback submitted a

dividend-withholding tax refund application for the August Refund on the Riverside Plan’s

behalf.



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       39.     Together, the July Refund and August Refunds are referred to herein as the

“Unpaid Refunds.”       The Unpaid Refunds total DKK 965,000.00 (which is equal to

approximately $123,454.72).4

       40.     The information in the application submitted to SKAT by Goal Taxback in

support of the Unpaid Refunds was, to the best of the Riverside Plan’s knowledge, truthful and

accurate and provided sufficient information for SKAT to pay the Unpaid Refunds.

       41.     Nevertheless, despite SKAT’s prior course of conduct and its practices, policies,

and procedures, SKAT refused to pay the Unpaid Refunds to the Riverside Plan in contravention

of the U.S.-Denmark Tax Treaty.

       42.     SKAT continues to knowingly possess the Unpaid Refunds and refuses to pay the

Unpaid Refunds to the Riverside Plan.

       43.     On information and belief, SKAT has not paid any dividend withholding-tax

claims to anyone since before August 2015.

                                           COUNT I
                                       Unjust Enrichment

       44.     The Riverside Plan repeats and realleges paragraphs 1 through 43 of its

counterclaims as though set forth fully herein.

       45.     The Riverside Plan is entitled to the Unpaid Refunds pursuant to the U.S.-

Denmark Tax Treaty.

       46.     Despite SKAT’s prior course of conduct and its practices, policies, and

procedures, SKAT has refused to pay and knowingly possesses the Unpaid Refunds in

contravention of the U.S.-Denmark Tax Treaty.



4
  This conversion is based on an exchange rate of 1.00 USD to 6.6978 DKK, which, on
information and belief is the exchange rate on July 29, 2019.


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        47.    By retaining the Unpaid Refunds to which the Riverside Plan is entitled, SKAT

has been unjustly enriched.

        48.    The Riverside Plan has suffered a loss because of SKAT’s unjust enrichment.

        49.    SKAT is liable to account and pay to the Riverside Plan the Unpaid Refunds, plus

interest.

                                          COUNT II
                                      Promissory Estoppel

        50.    The Riverside Plan repeats and realleges paragraphs 1 through 43 of its

counterclaims as though set forth fully herein.

        51.    SKAT created the process by which it would receive, review, and either deny or

accept applications for dividend-withholding taxes pursuant to the U.S.-Denmark Tax Treaty.

        52.    Pursuant to that process, and as evidenced by SKAT’s prior course of conduct, its

practices, policies, and procedures — and in accordance with the U.S.-Denmark Tax Treaty —

SKAT promised to pay all dividend-withholding tax refund requests that were supported by what

it deemed to be sufficient Supporting Documentation.

        53.    SKAT should — and, on information and belief, did — reasonably expect its

promises to induce the Riverside Plan and other similarly-situated U.S. pension plans to

(i) invest in Danish companies issuing dividends and (ii) submit withholding-tax refund claims

with sufficient Supporting Documentation.

        54.    The Riverside Plan acted with prudence and in reasonable reliance on SKAT’s

promise and invested in Tryg on or before July 2015 and TDC on or before August 2015 through

its account with ED&F.




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        55.      The Riverside Plan further acted with prudence and in reasonable reliance on

SKAT’s promises and, with the assistance of ED&F and Goal Taxback, provided SKAT with

sufficient Supporting Documentation for the Unpaid Refunds.

        56.      SKAT should have known — and, on information and belief, in fact knew — that

the Riverside Plan had relied on SKAT’s promise.

        57.      At the time of the Riverside Plan’s July Refund and August Refund claims,

SKAT, on information and belief, knew all important and material facts concerning the Riverside

Plan’s refund claim, including that (i) the U.S.-Denmark Tax Treaty allowed U.S. pension plans

to recover dividend-withholding tax; (ii) its own practices, policies, and procedures only required

the submission of the Supporting Documentation; and (iii) based on the Supporting

Documentation, the Riverside Plan held and owned Tryg and TDC shares on the applicable

record dates, that the Riverside Plan received dividends net withholding tax, and that the

Riverside Plan is entitled to the Unpaid Refunds.

        58.      SKAT failed to fulfill its promise by failing to pay the Unpaid Refunds to the

Riverside Plan.

        59.      Because of the Riverside Plan’s reliance on SKAT’s promise and SKAT’s failure

to pay the Unpaid Refunds, it has been damaged at least in the amount of the Unpaid Refunds,

plus interest.

                                        JURY DEMAND

        The Riverside Plan and Schulman demand a jury trial on all issues so triable.




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                                  REQUEST FOR RELIEF

       WHEREFORE, the Riverside Plan and D. Schulman respectfully request that this Court

enter judgment in their favor and against SKAT as follows:

          1. Enter judgment in favor of the Riverside Plan and D. Schulman and against
             SKAT on each count of the complaint and dismiss all of SKAT’s claims against
             the Riverside Plan and D. Schulman, with prejudice;

          2. Enter judgment in favor of the Riverside Plan on its counterclaims against SKAT;

          3. Award the Riverside Plan the amount it was damaged and/or to which it is
             entitled, including but not limited to, the Unpaid Refunds, together with pre-
             judgment interest, fees, costs, and expenses;

          4. Award the Riverside Plan and D. Schulman their attorneys’ fees and costs; and

          5. Grant such other preliminary, permanent, compensatory, or punitive relief against
             SKAT in favor of the Riverside Plan and/or D. Schulman as the Court deems just
             and proper.


 July 29, 2019                             Respectfully submitted,

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